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                                         exhibit #                                  webpage                                              Post time        Post person       source             takedown time clicks      involved images                           image type pictures involved other note
                                         A
                                         B                                          backchina.com/u/348861.html                                                                                                         N.A, it is an advertisement on BackChina
                                         C                                          backchina.com/news/2014/07/05/306370.html                  2014-7-5   former employee   people.com.cn      before 2015/01     7,985 FEMSKIN IMAGES                             image links                4
                                         D                                          backchina.dom/forum/20130222/info-1117415-1-1.html        2013-2-22   former employee   unidentified       before2018/01         49 BUFFALO WHISPERER IMAGES                   images                     2
                                         E                                          backchina.dom/forum/20141116/info-1244305-1-1.html       2014-11-16   former employee   unidentified       before 2015/02     7,074 1st SNUGGERY IMAGES                        images                     6 overlapped
                                         F                                          backchina.com/news/2015/01/11/340089.html                 2015-1-11   former employee   sina.com.cn        before 2016/02     8,751 2nd SNUGGERY IMAGES                        image links                8 overlapped
                                         G                                          backchina.com/news/2014/02/19/284204.html                 2014-2-19   former employee   news.qq.com        before 2015/01     2,975 3rd SNUGGERY IMAGES                        image links               12 overlapped
                                         H                                          backchina.com/news/2011/01/02/121295.html                2011-01-02   former employee   tech.sina.com.cn   before 2015/01 N.A       AMAZON EVE IMAGES                          image links                6
                                         I                                          backchina.com/news/2013/11/28/272746.html                2013-11-28   former employee   dailymail.co       before 2015/01     3,153 HUNTRESS IMAGES                            image links               20
                                         J                                          backchina.com/news/2017/03/19/481812.html                 2017-3-19   former employee   huanqiu.com        before2018/01     4,442 GIRAFFE WOMAN IMAGES.                       image links                6




                                                                                                                                                                                                                                                                                                             EXHIBIT A
                                                                                                                                                                                                                                                                                                               -1-
                                                                                                                                                                                     EXHIBIT A
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